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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                 No. 19-CR-561 (LAP)
-against-
                                                 No. 11-CV-691 (LAK)
STEVEN DONZIGER,
                                                         ORDER
                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     The Court is in receipt of counsel’s letters regarding the

length of opening statements.         (See dkt. nos. 252, 256.)       Each

side will have 45 minutes for openings.

SO ORDERED.

Dated:       April 8, 2021
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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